            Case 1:15-cv-01326-RJS Document 1 Filed 02/24/15 Page 1 of 3




STAMELL & SCHAGER, LLP
555 Fifth Avenue, 14th Floor
New York, NY 10017-9257
Richard J. Schager, Jr., Esq. (RS5875)
Andrew R. Goldenberg, Esq. (AG8213)

Counsel for Appealing Parties Identified Below

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------x

In re                                                                Chapter 11

LEHMAN BROTHERS HOLDINGS INC., et al.,                               Case No.08-13555 (SCC)

                                         Debtors.                    Jointly Administered

-----------------------------------------------------------------x

                                           NOTICE OF APPEAL

        Claimants appeal to the United States District Court for the Southern District of New

York, pursuant to 28 U.S.C. §158(a) and Rule 8001 of the Federal Rules of Bankruptcy

Procedure, from each and every part of the Order Sustaining Omnibus Objections and

Reclassifying Claims for Restricted Stock Units and Contingent Stock Awards [Dkt. # 46853]

entered November 7, 2014 in the above-captioned case, including all judgments, decrees,

decisions, rulings and/or opinions that merged into or became a part of the Order on which the

Order was based.

        The name of each appealing Claimant to the Order appealed from and the names,

addresses and telephone numbers of each of their respective attorneys are as follows:
          Case 1:15-cv-01326-RJS Document 1 Filed 02/24/15 Page 2 of 3




                  Appealing Parties’ Names                     Attorneys’ Name, Address
                                                                 and Telephone Number
    Jennifer Adler, Ian Anderson, Jennifer Becker, Craig     Stamell & Schager, LLP
    Benson, Paola Biraschi, Karen Brewer, William            555 Fifth Avenue, 14th Floor
    Broadbent, David Brooks, Guillemette Callies, Patrick    New York, NY 10017
    Cremin, Michael Collier, Joseph D’Amadeo, John           Tel.: (212) 566-4047
    Dmuchowski, Nestor De Jesus, Steven Engel, Louise        Richard J. Schager, Jr.
    Goldberg, Michael Gran, Anshuman Goyal, Adrian           Andrew R. Goldenberg
    Graves, Sandra Hahn-Colbert, Gregg Hawes, Nicholas
    Howard, Julian Iragorri, Harriet Chan King, Karen
    Krieger, Tal Lev Ari, Yeruchim Levilev, Sarah Lewis,
    Patricia Luken, Lawrence McCarthy, Michael
    McCully, Hugh McGee, Michael Mullen (Estate of),
    Ian Neville, Thomas O’Sullivan, Helmut Olivier,
    Martin Patterson, Michael Petrucelli, Sandy Fleischman
    Richman, Barry Porter, Jack Rivkin, Alvaro
    Santodomingo, Christiane Schuster, Steven Schwab,
    Brian Seward, Ross Shapiro, Paul Shotton, Norman
    Siegel, Margaret Smith, Stephen Snelling, Gregg
    Somma, Andrea Sullivan, Milan Veleba, Pierluigi
    Volini, Peter Ward, Jeffrey Wecker, Colin S.A. Welch,
    Timothy Wilkinson and Judith Winchester


       The names of appellees and the names, address and telephone number of their attorneys

are as follows:

    Lehman Brothers Holdings Inc. and its affiliated         Weil, Gotshal & Manges LLP
    debtors                                                  767 Fifth Avenue
                                                             New York, NY 10153
                                                             Tel: (212) 310-8965
                                                             Ralph I. Miller
                                                             Robert J. Lemons
                                                             Denise Alvarez
                                                             Teresa Brady




                                               2
        Case 1:15-cv-01326-RJS Document 1 Filed 02/24/15 Page 3 of 3




Dated: New York, New York
       November 21, 2014
                                         STAMELL & SCHAGER, LLP

                                         By: /s/ Richard J. Schager, Jr.
                                         Richard J. Schager, Jr.
                                         Andrew R. Goldenberg
                                         555 Fifth Avenue, 14th Floor
                                         New York, NY 10017
                                         Tel.: (212) 566-4047
                                         Fax: (212) 566-4061

                                         Counsel to Claimants: Jennifer Adler, Ian
                                         Anderson, Jennifer Becker, Craig Benson,
                                         Paola Biraschi, Karen Brewer, William
                                         Broadbent, David Brooks, Guillemette
                                         Callies, Patrick Cremin, Michael Collier,
                                         Joseph D’Amadeo, John Dmuchowski,
                                         Nestor De Jesus, Steven Engel, Louise
                                         Goldberg, Michael Gran, Anshuman Goyal,
                                         Adrian Graves, Sandra Hahn-Colbert,
                                         Gregg Hawes, Nicholas Howard, Julian
                                         Iragorri, Harriet Chan King, Karen
                                         Krieger, Tal Lev Ari, Yeruchim Levilev,
                                         Sarah Lewis, Patricia Luken, Lawrence
                                         McCarthy, Michael McCully, Hugh McGee,
                                         Michael Mullen (Estate of), Ian Neville,
                                         Thomas O’Sullivan, Helmut Olivier, Martin
                                         Patterson, Michael Petrucelli, Sandy
                                         Fleischman Richman, Barry Porter, Jack
                                         Rivkin, Alvaro Santodomingo, Christiane
                                         Schuster, Steven Schwab, Brian Seward,
                                         Ross Shapiro, Paul Shotton, Norman Siegel,
                                         Margaret Smith, Stephen Snelling, Gregg
                                         Somma, Andrea Sullivan, Milan Veleba,
                                         Pierluigi Volini, Jeffrey Wecker, Peter
                                         Ward, Colin S.A. Welch, Timothy Wilkinson
                                         and Judith Winchester




                                     3
